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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT
PDF FILE WITH AUDIO FILE ATTACHMENT

      2024-50786
      Susanne P. Wahba



      Case Type :                    bk
      Case Number :                  2024-50786
      Case Title :                   Susanne P. Wahba

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